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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS



    NATIONAL ASSOCIATION OF
    CONSUMER ADVOCATES, et al.,

                          Plaintiffs,

                   v.                                   No. 1:20-cv-11141 (JCB)

    KATHLEEN L. KRANINGER, in her official
    capacity as Director of the Consumer Financial
    Protection Bureau, et al.,

                          Defendants.


          PLAINTIFFS’ RESPONSE TO DEFENDANTS’ BRIEF ON MOOTNESS

         The Court should reject the government’s attempt to shield its illegally produced

Taskforce report from judicial inspection and allow Plaintiffs’ full case to move forward.

Defendants’ preface to the report itself makes clear that its release “is just the beginning for

implementing [its] recommendations” and that Defendants plan to take “action” on “a number of

Taskforce recommendations.”1 Given the ongoing relevance of the report, it should be no

surprise that the Taskforce’s work continues to harm Plaintiffs and does so in ways that this

Court can redress.

         In this circumstance, Defendants have not met their “heavy” burden of establishing

mootness. N.H. Motor Transp. Ass’n v. Rowe, 448 F.3d 66, 73 (1st Cir. 2006). As Defendants

acknowledge, a claim for prospective relief is moot only where “interim relief or events have

completely and irrevocably eradicated the effects of the alleged violation,” Defs.’ Br. Regarding



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    CFPB, Taskforce on Consumer Financial Law Report, Volume I at 3 (January 2021).
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Mootness (“Defs.’ Br.”) 5, ECF No. 40 (quoting Thomas v. Town of Weymouth, No. 16-cv-

10091, 2017 WL 5257003 at *6 (D. Mass. Mar. 24, 2017)) (emphasis added); put differently,

“[a] case is moot where it is impossible for a court to grant any effectual relief whatever to the

prevailing party,” Massachusetts v. U.S. Dep’t of Health & Human Servs., 923 F.3d 209, 220

(1st Cir. 2019) (emphasis added) (quotation omitted). As explained below, Defendants’

violations of FACA culminated in an irreparably biased report that continues to harm Plaintiffs,

and those harms can be redressed by injunctive and declaratory relief.

       I.       Injunctive Relief

       To begin, injunctive relief would redress the ongoing injuries caused by all four of

Defendants’ violations of the Federal Advisory Committee Act (“FACA”), including the three

claims challenged by Defendants.2 Each of these violations has contributed to the release of a

tainted final report that is forcing Plaintiffs to divert significant resources towards analyzing the

report, educating the public regarding its harmful effects and analytical flaws, and training their

members on the threat it poses to consumer protection efforts. Pls.’ Suppl. Br. on Mootness

(“Pls.’ Br.”) at 4-7, ECF No. 39; Compl. ¶ 155. These injuries can be redressed through a use

injunction, which would prevent Defendants from relying on the report and thereby alleviate

Plaintiffs’ need to divert resources towards combatting its harmful effects. Pls.’ Br. at 6 (citing,

e.g., Alabama-Tombigbee Rivers Coal. v. Dep’t of Interior, 26 F.3d 1103, 1107 (11th Cir.

1994)). Likewise, a limited use injunction would provide Plaintiffs with “ammunition in the

arena of public opinion” by “removing the appearance of legitimacy” from the report. Id. (citing




2
 Defendants do not even argue that Plaintiffs’ third claim, which alleges the failure to provide
documents as required by FACA, is moot under these standards (nor have they argued that
Plaintiffs lack standing to bring that claim).

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NAACP Legal Def. & Educ. Fund, Inc. v. Barr, No. 20-cv-1132, 2020 WL 6392777 at *2

(D.D.C. Nov. 2, 2020)).

       Defendants do not explain why these remedies are unavailable to address the above

injuries. Instead, Defendants cherry pick the Complaint to mischaracterize Plaintiffs’ injuries as

wholly in the past (and therefore not redressable) and recycle various standing arguments that

Plaintiffs have already addressed elsewhere. Neither approach has merit.

       1.       With respect to Plaintiffs’ first claim, which alleges that Defendants ignored

FACA’s requirements in creating the Taskforce, Defendants assert that Plaintiffs suffered only a

single injury that no longer exists—i.e., the impairment of Plaintiffs’ ability to study and inform

the public about the Taskforce. Defs.’ Br. at 5-6. The Complaint, however, makes clear that

Plaintiffs suffer two other ongoing injuries. First, Defendants’ violation of FACA’s

“requirements in the[] creation” of the Taskforce “facilitate[d] a biased set of recommendations,”

Compl. ¶¶ 6, 8, that continue to force Plaintiffs to “divert resources to . . . adapt their educational

and advocacy work,” id. ¶ 155. See also Pls.’ Br. at 4 (citing Compl. ¶¶ 5-6, 91-99, 101, 116-21);

Pls.’ Opp. to Defs.’ Mot. to Dismiss (“Opp.”) 13-14, ECF No. 23. As Plaintiffs have explained,

these injuries are redressable by a use injunction or a limited use injunction. Pls.’ Br. at 5-6; see

also Compl. at 49 (requesting a use injunction or any other relief the Court deems appropriate).

Second, Plaintiffs continue to be deprived of the requisite public interest findings, which

constitute information to which they are statutorily entitled. Compl. ¶¶ 140, 143; Opp. at 9-11.

This too can be redressed by injunctive relief in the form of an order requiring Defendants to

release the required information. Pls.’ Br. at 7.3


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  Defendants again assert that Plaintiffs’ informational injuries do not give rise to standing,
Defs.’ Br. at 6 n.4, but their arguments are repetitive of their previous filings and are wrong for
the reasons explained in Plaintiffs’ opposition to the motion to dismiss. Opp. at 9-12.

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       2.       Defendants similarly ignore Plaintiffs’ ongoing injuries from the Taskforce’s

failure to hold its meetings in public (Plaintiffs’ second claim). Defendants assert that their lack

of transparency no longer matters because the Taskforce will no longer hold any meetings at all.

Defs.’ Br. at 7-8. But the entire point is that, as alleged in the Complaint, “[t]he Taskforce’s

secrecy . . . [made] it more likely that recommendations favorable to industry [would] come to

fruition.” Compl. ¶ 146. And Plaintiffs must now divert resources toward analyzing, educating

the public and their members about, and rebutting the report—a task made “significantly more

difficult by the Taskforce’s [previous] lack of transparency.” Id. ¶ 155. Far from “completely and

irrevocably eradicat[ing]” Plaintiffs’ injuries, Defendants’ decision to rush out a report prepared

in secret and then close up shop simply compounds them. Town of Weymouth, 2017 WL

5257003, at *6.

       Defendants also insist that the “only relief” Plaintiffs seek for this claim is an injunction

barring the Taskforce from continuing to operate in secret. Defs.’ Br. at 8. But the Taskforce’s

lack of transparency warrants a use injunction barring Defendants from relying on the product of

an unlawful process—one that continues to harm Plaintiffs. Pls.’ Br. at 5-6; see also Compl. at

49 (requesting such relief). That “meaningful relief” more than warrants allowing this claim to

continue.

       3.       Defendants’ arguments about Plaintiffs’ fourth claim, which alleges that the

Defendants violated FACA’s requirement that the Taskforce be “fairly balanced,” 5 U.S.C. App.

2 § 5(b)(2), (c), are simply more of the same. As to Professor Engel’s standing, Defendants

reiterate their mistaken belief that only an order placing Professor Engel on the Taskforce would

remedy her injuries and then further assert that, had Plaintiffs sought this hypothetical form of

relief, it would now be moot. Defs.’ Br. at 9-10. But the relief that Professor Engel actually



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seeks—a use injunction against the product of a committee from which she was unlawfully

denied a fair chance to join—continues to be a viable means of redressing her injuries, and

remains unquestionably live.

         As to all of the Plaintiffs, Defendants do not even argue that Plaintiffs’ diversion-of-

resources injuries no longer exist or that they are not redressable. Rather, Defendants assert that

these injuries are too speculative or are otherwise not cognizable. Defs.’ Br. at 10-11. Plaintiffs

have already explained why these arguments fail as a matter of standing, see Opp. at 18-19

(citing, e.g., Nkihtaqmikon v. Impson, 503 F.3d 18, 28 (1st Cir. 2007)), and they fare no better

with respect to mootness. Moreover, as Defendants themselves acknowledge, “it is no longer

necessary . . . to speculate” as to the report’s contents or Defendants’ intentions to act on the

report, Defs.’ Br. at 10-11: even a preliminary review reveals that the report recommends many

measures that would be harmful to consumers.4 Likewise, Defendants have made no effort to

hide their plans to take “action” on “a number of Taskforce recommendations,” and have

explicitly stated that the report’s release “is just the beginning for implementing [its]

recommendations.”5 Plaintiffs have therefore provided far more than speculation to support their

injuries—especially at the motion to dismiss stage. In any event, because the Court can remedy

Plaintiffs’ injuries via a use injunction or a limited use injunction, Plaintiffs’ fourth claim is not

moot. See Pls.’ Br. at 5-6.6


4
  See, e.g., CFPB, Taskforce on Consumer Financial Law Report, Volume II at 79 (January
2021) (recommending that Congress consider repealing various protections in the CARD Act,
including restrictions on marketing credit cards to consumers age 21 and under).
5
    Taskforce on Consumer Financial Law Report, Volume I, supra note 1, at 2.
6
  Defendants also suggest that Plaintiffs should amend their Complaint in order to meet their
“burden of clearly alleging definite facts to demonstrate that jurisdiction is proper.” Defs.’ Br. at
11 (quoting Impson, 503 F.3d at 25). As explained at the January 6 hearing and in various filings,
the Complaint adequately alleges the injuries Plaintiffs continue to suffer and the relief the Court
should grant. See, e.g., Pls.’ Br. at 4-5; Opp. at 8 (quoting Dubois v. U.S. Dep’t of Agric., 102
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         II.    Declaratory Relief

         Plaintiffs’ claims are also redressable by declaratory relief because Plaintiffs could use a

declaratory judgment “to later obtain further relief,” including in “subsequent proceedings” in

which the Bureau relies on the Taskforce’s recommendations. Unión de Empleados de Muelles

de Puerto Rico, Inc. v. Int’l Longshoremen’s Ass’n, AFL-CIO, 884 F.3d 48, 58 (1st Cir. 2018);

Byrd v. U.S. EPA, 174 F.3d 239, 244 (D.C. Cir. 1999) (declaratory judgment can provide relief

for FACA violations even after the committee has disbanded because the relief provides

“ammunition” to combat the effects of an advisory committees’ work product).

         Defendants rely on ACLU v. Conference of Catholic Bishops to assert that declaratory

relief is unavailable because its issuance “would be merely advisory.” Defs.’ Br. at 12 (quoting

705 F.3d 44, 53 (1st Cir. 2013)). This reliance is misplaced. In contrast to the instant case, the

plaintiffs in ACLU sought to challenge wholly past conduct with no ongoing cognizable harms to

the plaintiffs. 705 F.3d at 53-54 (challenging the constitutionality of an “expired” federal

contract under which all payments had been made and all obligations fulfilled). 7 Accordingly,

the First Circuit found that declaratory relief would serve only to “deem[] past conduct illegal.”

Id. at 53. In so holding, the First Circuit recognized that declaratory judgment may still provide

relief in cases that continue to present “a substantial controversy . . . of sufficient immediacy and

reality.” Id. at 54 (emphasis omitted).

         This is precisely the case here. See Pls.’ Br. at 7-10. Indeed, the First Circuit has found

declaratory relief to be available in substantially similar circumstances. In Unión de Empleados



F.3d 1273, 1281-82 (1st Cir. 1996) for the proposition that “general factual allegations of injury .
. . suffice” at the pleading stage). Nevertheless, Plaintiffs would be happy to amend their
Complaint if the Court would find it helpful.
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    Notably, ACLU did not involve a FACA challenge.

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de Muelles de Puerto Rico, the First Circuit concluded that a challenge to an international

union’s decision to place a local union in a trusteeship was not moot—even though the

trusteeship dissolved—because declaratory judgment could remedy the plaintiff’s ongoing

injuries. 884 F.3d at 58. The court explained that declaratory judgment could “be used as a

predicate for further relief” by providing the plaintiff with the ability to challenge the “effects of

the trusteeship,” including a merger between two local unions. Id. at 59. Similarly, and especially

given Defendants’ statements that they plan to take action based on the report, declaratory relief

will provide Plaintiffs with “ammunition for [their] attack on the [Taskforce’] findings in

subsequent agency proceedings that make use of the [report].” Byrd, 174 F.3d at 244. Thus, “the

controversy over the validity of the [Taskforce report] is sufficiently real and immediate to”

warrant declaratory judgment. Unión de Empleados, 884 F.3d at 59.8

       Because all of Defendants’ violations have caused Plaintiffs ongoing injuries that are

redressable by both injunctive and declaratory relief, none of Plaintiffs’ claims is moot. The

Court should therefore deny the government’s motion to dismiss.



Dated: January 20, 2021                                 Respectfully submitted,

                                                          /s/ Kristen Miller

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  Defendants assert that the second and third elements of relief—which ask for an injunction
setting aside the Taskforce charter and barring the Taskforce from continuing to meet—are also
moot given the Taskforce members’ resignations and the impending expiration of the charter.
Defs.’ Br. at 12-13. While Plaintiffs acknowledge that these elements of relief are likely no
longer appropriate in such circumstances, their claims remain live for the reasons explained
above.

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